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                                      EXHIBIT 14
                                    1682

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                                                       February 22, 2023




 Kristeena Johnson
 Dinsmore & Shohl, LLP                        Via Electronic Mail: l<risteena.iohnson(5)dinsmore.com
 100 W. Main St., Suite 900
 Lexington, KY 40507

             RE:         Eugene Baker, et al v. Blackhawk Mining, LLC, et al, 5:22-cv-231-DCR

 Dear Kristeena:

        As you are aware, we represent a substantial number of people, many of whom
 continue to be displaced and are hard to contact. It is our plan to meet with all the clients
 on March 13, 2023. Hopefully, by the end of that week, we will have answered all the
 interrogatories. We have advised the clients if they do not fully cooperate, we will either
 withdraw from their case or consent that their cases be dismissed.

        As to your list of people who have not answered, namely, Vada Baker [spouse of
 Raymond Baker, not Raymond G. Baker], Brittany White [spouse of Ashford White], Burley
 White [spouse of Denita White], their spouses have answered the interrogatories.

                                                       Sincerely,

                                                             /

                                                       Ned Pillersdorf

 NP/dsw

 cc: Darrell Herald
